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                     IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TENNESSEE AT JACKSON


FREEDOM FROM RELIGION
FOUNDATION, INC.,

        Plaintiff,

vs.                                                  Case No. 1:11-cv-1374-JDB

TOWN OF WHITEVILLE,
TENNESSEE, MAYOR JAMES
BELLAR and THE WHITEVILLE
TENNESSEE BOARD OF ALDERMEN,

        Defendants.


                            NOTICE OF APPEARANCE


        Attorney Joshua B. Dougan of Rainey, Kizer, Reviere & Bell, P.L.C., hereby

enters a special appearance of counsel of record for Defendants Town of Whiteville,

Tennessee, Mayor James Bellar and the Whiteville, Tennessee Board of Aldermen.

                                        Respectfully submitted,

                                        RAINEY, KIZER, REVIERE & BELL, PLC

                                  By:          s/ Joshua B. Dougan
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                                        JOSHUA B. DOUGAN, BPR #028066
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 5, 2012, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court's electronic filing
system to all parties indicated on the electronic filing report. All other parties will be
served by regular U.S. Mail. Parties may access this filing through the Court's
electronic filing system.

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                                                   s/ Joshua B. Dougan




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